                              Case 3:19-cv-04592-JCS Document 33 Filed 12/16/19 Page 1 of 1
                                                                                                                            OGLETREE, DEAKINS, NASH,
                                                                                                                            SMOAK & STEWART, P.C.
                                                                                                                            Attorneys at Law
                                                                                                                            Steuart Tower, Suite 1300
                                                                                                                            One Market Plaza
                                                                                                                            San Francisco, CA 94105
                                                                                                                            Telephone: 415-442-4810
                                                                                                                            Facsimile: 415-442-4870
                                                                                                                            www.ogletree.com



             Lisa M. Bowman
             415-369-3555
             lisa.bowman@ogletree.com

             December 16, 2019

             Honorable Joseph C. Spero
             Chief Magistrate Judge
             United States District Court Northern District of California
             450 Golden Gate Avenue
             San Francisco, California 94102
              RE:        Ruby Danielsson v. Blood Centers Of The Pacific | Case No 3:19-cv-04592-JCS

             Dear Judge Spero:

             This firm represents Defendant Vitalant erroneously sued herein as Blood Centers of the Pacific and
             Blood Systems (“Defendant”) in the above-referenced matter. I write to respectfully request that
             counsel for Defendant be permitted to appear telephonically for the Initial Case Management
             Conference and Plaintiff’s Motion for Remand scheduled for December 20, 2019 at 9:30 a.m. I have
             conferred with Plaintiff’s counsel about the possibility of appearing telephonically and he does not
             object to this request. If a telephonic appearance by the undersigned is acceptable to Your Honor,
             then please grant the relief requested herein.

             Thank you for your consideration of this request.



             Respectfully Submitted,

             /s/ Lisa M. Bowman

             Lisa M. Bowman

             LMB:bst

                                                                                                                                                          41135377.1




Atlanta ▪ Austin ▪ Berlin (Germany) ▪ Birmingham ▪ Boston ▪ Charleston ▪ Charlotte ▪ Chicago ▪ Cleveland ▪ Columbia ▪ Dallas ▪ Denver ▪ Detroit Metro ▪ Greenville ▪ Houston
Indianapolis ▪ Jackson ▪ Kansas City ▪ Las Vegas ▪ London (England) ▪ Los Angeles ▪ Memphis ▪ Mexico City (Mexico) ▪ Miami ▪ Milwaukee ▪ Minneapolis ▪ Montréal (Canada) ▪ Morristown
▪ Nashville ▪ New Orleans ▪ New York City ▪ Oklahoma City ▪ Orange County ▪ Paris (France) ▪ Philadelphia ▪ Phoenix ▪ Pittsburgh ▪ Portland, ME ▪ Portland, OR ▪ Raleigh Richmond ▪
St. Louis ▪ St. Thomas ▪ Sacramento ▪ San Antonio ▪ San Diego ▪ San Francisco ▪ Seattle ▪ Stamford ▪ Tampa ▪ Toronto (Canada) ▪ Torrance ▪ Tucson ▪ Washington
